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   UNITED STATES DISTRICT COURT
   EASTERNDISTRICTOFNEWYORK
                                                                   .X


  RONALD FULLER,
                                                                        STIPULATIONAND
                                                         Plaintiff,     ORDER OF DISMISSAL

                                -against-                               16-CV-2509 (AMD) (CLP)
  THE CITY OF NEW YORK, NEW YORK CITY POLICE
  OFFICER TREVOR WPin'E, Shield # 00360, 83rd Precinct,
  NEW YORK CITY POLICE OFFICER DIAZ, Tax # *****4,
  75th Precinct, NEW YORK CITY POLICE OFFICERJANE
  DOE, 75th Precinct, NEW YORK CITY POLICE OFFICER
  CHOWDHURY, Tax #*"t***5, 75th Precinct, NEW YORK
  CITY POLICEOFFICERRUSS, Tax #*****0, 75th Precinct,
  NEW YORK CITY POLICE OFFICER HUI, Tax #*****8,
  75th Precinct, NEW YORK CITY POLICE OFFICER
  JO.HNPAUL CATANO, Shield #****, Narcotics Boro
  Brooklyn North, NEW YORK CITY POLICE OFFICER
  VINCENT GAMBWO, Shield #31824, 75th Precinct,

                                                     Defendants,




                  WI-IEREA.S, the parties have reached a settlenicnt agreement and now desire to

  resolve the reniaining issues raised in this litigation, without further proceedings aiid without

  admitting any fault or liability;

                 NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by
  and between the undersigned,thai

         1.      The above-referenced a.ction is hereby dismissed with prejudice; and
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           2.     Notwithstanding the dismissal of this action in accordance with this agreement,

  the District Court shall continue to retain jurisdiction over this action for tlie purpose of

  enforcing the terms of the settlement agreement reached between the parties and set fortli in the

  Stipulation of Settlement executed by the parties in tliis matter.


  Dated: New York, New York
          Q^cbST- ^, 2017

  VICTOR BROWN                                            ZACHARY W. CARTER
  Attorneyfor Plaintiff'                                  Corporation Counsel of the
  11 Park Place, Suite 600                                  City ofNew York
  New York, NY 10007                                      Attorney for Defendants City of NewYork
                                                             Wnte, Diaz, Chowdhwy, Riiss, Hui,
                                                             Catano, and Gambino
                                                          100 Church Street, 3rd Floor
                                                          NewYoi-k^NewYork 10007
  By:                                              By:
        Victor Brown
                                                          ChriftSpher G. Arko
        Attorney for Plaintiff                            Senior Counsel

                                                          SO ORDERED:



                                                          HON. ANN M. DONNELLY
                                                          UNITED STATES DISTRICTJUDGE

                                                          Dated;                   , 2017
